                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                      *
 JENNA ZINGG,                                         *
                                                      *
                Plaintiff,                            *
                                                      *
                v.                                    *
                                                      *
                                                            Civil Action No. 15-cv-10771-ADB
 THOMAS GROBLEWSKI and                                *
 MASSACHUSETTS PARTNERSHIP FOR                        *
 CORRECTIONAL HEALTHCARE,                             *
                                                      *
                Defendants.                           *
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                                MEMORANDUM AND ORDER


BURROUGHS, D.J.

       This case concerns the medical treatment of Plaintiff Jenna Zingg, who was held pending

trial in the Massachusetts Correctional Institute–Framingham (“MCI–Framingham”) for

approximately six months. She has sued Defendants Thomas Groblewski and the Massachusetts

Partnership for Correctional Healthcare (“MPCH”) for common law negligence and under 42

U.S.C. § 1983, alleging that they acted with deliberate indifference to her serious medical needs

in violation of the Eighth and Fourteenth Amendments by failing to adequately care for her

psoriasis and psoriatic arthritis. Defendants now seek partial summary judgment on the § 1983

claim. For the reasons that follow, Defendants’ motion is ALLOWED.

I.     BACKGROUND

       Because this is Defendants’ motion for summary judgment, the Court must construe the

facts in the light most favorable to Plaintiff, drawing all reasonable inferences in her favor. See



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Feeney v. Corr. Med. Servs., Inc., 464 F.3d 158, 161 (1st Cir. 2006). Accordingly, the factual

summary that follows is culled from Plaintiff’s statement of facts (“Pl. Facts”) [ECF No. 56] and

those portions of Plaintiff’s response to Defendants’ facts (“Pl. Resp.”) [ECF No. 55] that

indicate the lack of a factual dispute. Additional facts are reserved for later discussion.

        A.      Plaintiff’s History with Psoriasis

        Plaintiff was a pretrial detainee in MCI–Framingham from March 12, 2013, to September

5, 2013. Pl. Facts ¶ 1. Before entering that facility, she had a long history of severe psoriasis

dating back to 2003. Id. ¶ 2. Psoriasis is a chronic inflammatory condition that causes red, scaly

plaques to form on the skin. Id. ¶¶ 3–4. These plaques are often itchy and painful. Id. ¶ 4.

Plaintiff had suffered from numerous forms of psoriasis that at times covered up to 30 percent of

her skin. Id. ¶ 6–7. She also had a history of joint pain and swelling, which was probably a form

of psoriatic arthritis. Id. ¶¶ 14–15.

        There are at least two types of drugs used to treat psoriasis: topical medications, which

are applied to the skin, and “systemic” medications, which are internal and target the immune

system. See id. ¶¶ 9, 11. Prior to entering MCI–Framingham, Plaintiff had tried various topical

treatments for her condition, including one weaker drug, a vitamin D analog called Dovonex, and

one stronger drug, a steroid called clobetasol. Id. ¶ 9. These topical treatments failed to control

her psoriasis. Id. ¶ 10. She had also tried a systemic drug called methotrexate, but it caused her

severe gastrointestinal side effects. Id. ¶ 11.

        Plaintiff responded well, however, to a systemic drug called Humira. Id. ¶ 12, 19. Humira

works by suppressing the immune system. Id. ¶ 13. Although this increases a patient’s risk of

infection, with proper screening and monitoring Humira can be used safely. Id. While on

Humira, Plaintiff’s psoriasis was well-controlled and her skin was mostly clear of plaques. Id. ¶



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12, 19. Plaintiff’s joint pain and swelling also subsided when she was on Humira. Id. ¶ 15, 19.

Plaintiff had been taking Humira continuously for approximately 10 months when she entered

MCI–Framingham. Id. ¶ 18.

       B.      Relationship Between MPCH, Dr. Groblewski, and Department of
               Corrections

       During Plaintiff’s pretrial detention, two different contractors oversaw the medical care

for prisoners housed at Department of Correction (“DOC”) facilities, including MCI–

Framingham. See Pl. Resp. ¶¶ 2–5. Prior to July 1, 2013, UMass Correctional Healthcare

(“UMass”), which is not a party to this case, was the medical contractor. Id. ¶¶ 2–3. As of July 1,

2013, Defendant MPCH took over those duties, entering into a contract with DOC to provide all

medical and mental health services to those being held in DOC facilities. Id. ¶ 4.

       Defendant Groblewski is the statewide medical director for MPCH and has held this

position since July 1, 2013. Id. ¶ 6. Prior to this position, Dr. Groblewski was the statewide

medical director for UMass. Id. Thus, at all times relevant to this case, Dr. Groblewski was the

statewide medical director for the contractor in charge of providing medical services to those

housed in DOC facilities. See id.

       C.      Plaintiff’s Treatment at MCI–Framingham

       Plaintiff’s first medical examination at MCI–Framingham occurred about nine days after

she entered the facility, on March 21, 2013. Pl. Facts ¶ 20. During this exam, a nurse practitioner

noted Plaintiff’s history of failed psoriasis treatments and that her condition was “well-controlled

on Humira.” Id. It was also noted that Plaintiff was due for her next Humira shot on March 26,

2013. Id.

       On April 1, 2013, Patricia Casella, a physician’s assistant (“PA”), submitted a request to

refer Plaintiff to a rheumatologist at Lemuel Shattuck Hospital for the purpose of developing a

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plan of care, to include treatment for her psoriasis. Id. ¶ 21. On April 19, 2013, this request was

denied, although it is unclear on this record by whom, with the recommendation that Plaintiff

continue with on-site medical treatment “using an existing formulary.”1 Id. ¶ 24; ECF No. 46,

Ex. 10 at 36.

        PA Casella appears to have been Plaintiff’s primary point of contact with prison medical

services during her period of incarceration. At a visit on April 25, 2013, PA Casella observed

small spots of psoriasis on both of Plaintiff’s elbows and noted that Plaintiff reported

experiencing elbow pain since being off Humira. Pl. Facts ¶ 25. By this time, PA Casella had

received Plaintiff’s medical records from her regular dermatologist, which documented

Plaintiff’s history of failed psoriasis treatments and her positive response to Humira. Id. ¶¶ 26,

74–76. PA Casella nonetheless wrote that her plan was to prescribe clobetasol and a prescription

shampoo. Id. ¶ 27.

        Meanwhile, between April and August 2013, Plaintiff submitted at least 15 “sick call

request” forms—or “sick slips”—that described her worsening condition. Id. ¶¶ 22, 23, 30, 31,

32, 46, 48. The first, submitted on April 10, 2013, noted that she was two weeks overdue for her

scheduled Humira shot and that her psoriasis had already begun to return. Id. ¶ 22. By early July

2013, she described plaques “all over” her body, covering her arms, armpits, thigs, hands, ears,

feet, vaginal area, buttocks, and other areas, such that it hurt to walk or shower. Id. ¶ 31.




1 In this context, “formulary” refers to a list of medications that have been pre-approved to
administer to patients. See Formulary, MERRIAM-WEBSTER ONLINE DICTIONARY (medical
definition), https://www.merriam-webster.com/dictionary/formulary (last accessed September
21, 2017). See also [ECF No. 44-4] (UMass Correctional Health Plaque Psoriasis Protocol
(listing formulary and non-formulary medications)); [ECF No. 44-6] (The Commonwealth of
Massachusetts State Office of Pharmacy Services, Correctional Facilities Drug Formulary (2013)
(similar)).
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         PA Casella saw Plaintiff on July 12, 2013, noting the extensive presence of psoriatic

plaques and joint pain. Id. ¶¶ 33–34. After this visit, PA Casella prescribed two medications,

Humira and Dovonex, neither of which was on the drug formulary used by Defendant MPCH. Id.

¶ 35. In order to obtain approval for each of these drugs, PA Casella was required to—and did—

fill out non-formulary request forms. Id. Each form described Plaintiff’s history of moderate to

severe psoriasis, her lack of success on clobetasol over the prior months, her positive response to

Humira before entering MCI–Framingham, and the severity of her then-current condition. Id. ¶

36–37.

         As part of his job, Dr. Groblewski reviewed virtually all non-formulary requests made by

MPCH practitioners, including the two just described. Id. ¶ 38–39. On July 15, 2013, he

approved the request for Dovonex, but denied the one for Humira. Id. ¶ 41. This was Dr.

Groblewski’s first contact with Plaintiff’s case. At this point, Dr. Groblewski had not examined

Plaintiff or reviewed her medical records, and he knew nothing about her other than what PA

Casella had included in the non-formulary request forms. Id. ¶¶ 42–43, 69, 73.

         Plaintiff’s condition continued to worsen. Id. ¶ 45. By late July 2013, Plaintiff’s psoriasis

had begun to interfere with her daily activities. Id. ¶ 49. She experienced pain when sitting,

walking, washing herself, and getting dressed. Id. ¶¶ 49, 50. Plaintiff also began to exhibit

changes in behavior and mood. Id. ¶ 51. She became depressed, had trouble sleeping, and

generally avoided others. Id. ¶¶ 32, 52, 53, 56. On July 30, 2013, a corrections officer expressed

concern to a social worker intern that Plaintiff had become more irritable and stayed in her cell.

Id. ¶ 54.

         On August 1, 2013, PA Casella submitted a referral request for Plaintiff to see a

dermatologist at the outpatient clinic at Lemuel Shattuck Hospital. Id. ¶ 55. MPCH approved the



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request on August 6, 2013. Id. Plaintiff was treated at the clinic on August 9, 2013, at which time

psoriatic plaques covered 30 percent of Plaintiff’s body. Id. ¶ 58–59. She was diagnosed with

severe psoriasis and mild psoriatic arthritis, admitted as an inpatient, screened for risk of

infection, and given an initial dose of Humira on August 11, 2013. Id. ¶¶ 59–60.

       Plaintiff was discharged and returned to MCI–Framingham the next day with a plan to

follow up with the rheumatology clinic for further evaluation, which did not occur. Id. ¶ 61–63.

She did, however, receive a Humira shot at the prison on August 27, 2013. Id. ¶ 64. By

September 3, 2013, Plaintiff had experienced significant improvement in her condition, and, on

September 5, 2013, she was released from MCI–Framingham. Id. ¶¶ 63–64.

       D.      Procedural History

       Plaintiff commenced this case in March 2015 and filed an Amended Complaint in

February 2016, naming as Defendants Dr. Groblewski in his individual capacity and MPCH.

[ECF Nos. 1, 22 at 2]. The Amended Complaint includes two counts against both Defendants,

with Count One arising under § 1983 and Count Two sounding in common law negligence. [ECF

No. 22 at 9–10]. The Amended Complaint seeks compensatory and punitive damages, as well as

costs and attorney’s fees. Id. at 10–11.

       In February 2016, the case was referred to a medical malpractice tribunal. [ECF No. 26].

Defendants represent that the case passed the tribunal as to both Defendants on September 28,

2016. [ECF No. 42 at 2]. Meanwhile, fact discovery was completed in August 2016, and expert

discovery was completed in November 2016. [ECF Nos. 35–38, 42 at 2].

       Defendants then moved for partial summary judgment on Count One. [ECF No. 41].

Plaintiff opposed the motion in January 2017 [ECF No. 57], and Defendants filed a reply brief

[ECF No. 62]. The motion is now ripe for adjudication.



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II.    LEGAL STANDARDS

       A.      Summary Judgment

       At summary judgment, the Court must view the facts in the light most favorable to the

non-moving party and draw all reasonable inferences in that party's favor. Feeney, 464 F.3d at

161. Summary judgment is appropriate if the record shows there is no genuine dispute of

material fact and the moving party is entitled to judgment as a matter of law. Id. (citing Fed. R.

Civ. P. 56(c)). A dispute is considered genuine if a reasonable jury, drawing favorable

inferences, could resolve it in favor of the non-moving party. Ocasio-Hernández v. Fortuño-

Burset, 777 F.3d 1, 4 (1st Cir. 2015). A party succeeds in showing the lack of a genuine dispute

of material fact when she affirmatively produces evidence that negates an essential element of

the non-moving party’s claim, or, using evidentiary materials in the record, demonstrates that the

non-moving party will be unable to carry her burden of persuasion at trial. Id. at 4–5.

       B.      Constitutionally Inadequate Care

       Count One, Plaintiff’s § 1983 claim, alleges a violation of the Eighth Amendment, which

applies to the states through the Fourteenth Amendment, see Torraco v. Maloney, 923 F.2d 231,

233 n.3 (1991). In this context, the Eighth Amendment protects prisoners from “deliberate

indifference to serious medical needs,” Feeney, 464 F.3d at 161–62 (quoting Estelle v. Gamble,

429 U.S. 97, 105–06 (1976)), meaning a violation arises when medical care is “so inadequate as

to shock the conscience,” id. at 162 (quoting Torraco, 923 F.2d at 235).

       To succeed on such a claim, a plaintiff must satisfy both an objective and subjective

inquiry. 2 Perry v. Roy, 782 F.3d 73, 78 (1st Cir. 2015) (quoting Leavitt v. Corr. Med. Servs., 645




2 Although  described in two prongs, the First Circuit has recognized that there is often analytical
and evidentiary overlap between the prongs. See Kosilek v. Spencer, 774 F.3d 63, 83 n.7 (1st
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F.3d 484, 497 (1st Cir. 2011)). The objective prong requires proof of a sufficiently serious

medical need. See id. The need must be “one that has been diagnosed by a physician as

mandating treatment, or one that is so obvious that even a lay person would easily recognize the

necessity for a doctor’s attention.” Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014) (en banc),

cert. denied, 135 S. Ct. 2059 (2015) (quoting Gaudreault v. Municipality of Salem, Mass., 923

F.2d 203, 208 (1st Cir.1990)).

       The subjective prong requires the plaintiff to show that prison officials possessed a

sufficiently culpable state of mind—namely, deliberate indifference to the claimant’s health or

safety. Perry, 782 F.3d at 78. “For purposes of this subjective prong, deliberate indifference

‘defines a narrow band of conduct’ and requires evidence that the failure in treatment was

purposeful.” Kosilek, 774 F.3d at 83 (citation omitted). “The obvious case would be a denial of

needed medical treatment in order to punish the inmate.” Feeney, 464 F.3d at 162 (quoting

Watson v. Caton, 984 F.2d 537, 540 (1st Cir.1993)). Yet deliberate indifference may also reside

in “wanton” or “reckless” actions, although recklessness is to be understood “not in the tort law

sense but in the appreciably stricter criminal-law sense, requiring actual knowledge of impending

harm, easily preventable.” Id.

       Under this formulation, an “inadvertent failure to provide adequate medical care” does

not give rise to a constitutional violation because it “cannot be said to constitute ‘an unnecessary

and wanton infliction of pain’ or to be ‘repugnant to the conscience of mankind.’” Estelle, 429

U.S. at 105–06. Similarly, “an official’s failure to alleviate a significant risk that he should have

perceived but did not, while no cause for commendation, cannot under [Supreme Court case law]




Cir. 2014) (en banc), cert. denied 135 S. Ct. 2059 (2015) (describing how adequacy of care is
germane both to objective need for surgery and to alleged deliberate indifference to that need).
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be condemned as the infliction of punishment.” Farmer v. Brennan, 511 U.S. 825, 838 (1994).

Thus, substandard treatment, “even to the point of malpractice,” is not enough to show an Eighth

Amendment violation. Feeney, 464 F.3d at 162 (quoting Layne v. Vinzant, 657 F.2d 468, 474

(1st Cir. 1981)). This is because the Constitution “does not impose upon prison administrators a

duty to provide care that is ideal, or of the prisoner’s choosing.” Kosilek, 774 F.3d at 82.

Accordingly, when the treatment simply reflects a disagreement on the appropriate course of

treatment, such a dispute may present a colorable claim of negligence, but will fall short of

alleging a constitutional violation. Id. See also Sires v. Berman, 834 F.2d 9, 13 (1st Cir. 1987)

(“Where the dispute concerns not the absence of help, but the choice of a certain course of

treatment, or evidences mere disagreement with considered medical judgment, [the Court] will

not second guess the doctors.”).

III.   ANALYSIS

       Defendants do not dispute that Plaintiff, at all times relevant to this case, had a serious

medical condition that satisfies the objective prong of the inquiry. [ECF No. 42 at 14]. Instead,

they argue that the undisputed facts show their actions in treating Plaintiff do not rise to the level

of deliberate indifference, under the subjective prong, as required to make out a constitutional

claim. Id. They also argue that Dr. Groblewski is entitled to qualified immunity. Id. at 18.

Because the Court agrees with Defendants’ first argument, it does not reach the second.

       A.      Constitutionally Inadequate Care—Dr. Groblewski

       As discussed, Dr. Groblewski denied the request for Humira and treated Plaintiff instead

with a different non-formulary medication until her inpatient admission on August 9, 2013,

which resulted in Humira being restarted on August 11, 2013. The issue is thus whether Dr.




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Groblewski acted with deliberate indifference when he decided to initially try a second topical

drug that Plaintiff’s medical records showed had previously been ineffective.

       Dr. Groblewski argues that he provided Plaintiff with adequate medical care such that she

cannot satisfy the subjective prong of the test. Id. at 14. Plaintiff’s arguments in response fall into

essentially three categories: (1) because it was obvious that the continued use of topical

medications would be ineffective in treating Plaintiff’s condition, Dr. Groblewski’s decision to

prescribe Dovonex amounted to providing “no treatment at all” [ECF No. 57 at 4–5]; (2) Dr.

Groblewski showed deliberate indifference by failing to obtain more information about Plaintiff

before denying Humira, id. at 5–8; and (3) Dr. Groblewski’s proffered reasons for denying

Humira are not credible, and a reasonable fact-finder could infer that he made this decision for

financial reasons, id. at 8–14.

       “A state-of-mind issue such as the existence of deliberate indifference usually presents a

jury question.” Torraco, 923 F.2d at 234. “However, where there is no evidence of treatment so

inadequate as to shock the conscience, let alone that any deficiency was intentional, or evidence

of acts or omissions so dangerous (in respect to health or safety) that a defendant’s knowledge of

a large risk can be inferred, summary judgment is appropriate.” Id. (citations and internal

quotation marks omitted).

       In this case, even construing the facts in the light most favorable to Plaintiff and making

all reasonable inferences in her favor, the record would not permit a reasonable fact-finder to

conclude that Dr. Groblewski’s treatment of Plaintiff was so inadequate as to “shock the

conscience,” id., or that he “[knew] of and disregard[ed] an excessive risk to inmate health or

safety,” Farmer, 511 U.S. at 837. Dr. Groblewski did provide treatment by prescribing Dovonex.

Thus, although he did not initially approve Humira, he did prescribe a course of treatment that



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was consistent with a recommendation by PA Casella and with prison protocol. See Pl. Resp. at

4–5 (undisputed that treatment protocol “has two steps for topical treatments before the two steps

for systemic medications”). “The courts have consistently refused to create constitutional claims

out of disagreements between prisoners and doctors about the proper course of a prisoner’s

medical treatment.” Watson, 984 F.2d at 540. Further, the record is devoid of evidence that Dr.

Groblewski chose this course of treatment knowing of, or consciously disregarding, an excessive

risk to Plaintiff’s health. While there was a risk that the treatment would not work, Dr.

Groblewski’s decision to try a different treatment first (even one that, unbeknownst to him, had

failed to alleviate Plaintiff’s symptoms in the past) does not rise to the level of a constitutional

violation, particularly when Plaintiff was treated with Humira once it became evident that the

Dovonex was not working. Without some indication that Dr. Groblewski actually knew the

Dovonex treatment would fail or subjectively believed it was very likely to fail, Plaintiff cannot

succeed in showing that he acted with deliberate indifference. See Farmer, 511 U.S. at 837, 839.

       Plaintiff claims “it was obvious” that clobetasol was a more potent topical medication

than Dovonex, and therefore Dr. Groblewski’s choice to treat Plaintiff with a lower-potency

medication after a higher-potency one had proven unsuccessful was, in the words of Plaintiff’s

expert, akin to “shooting a pistol at an armored car after a missile had failed.” [ECF No. 57 at 5];

Pl. Facts ¶¶ 43, 77. Even assuming this to be true, however, the record still fails to demonstrate

deliberate indifference for two related reasons.

        First, with regard to Dr. Groblewski’s subjective state of mind, there is nothing in the

record to support an inference that the decision to try Dovonex was intended to harm Plaintiff, or

that he wantonly or recklessly ignored a known risk of Plaintiff’s health—particularly when this

course of treatment was both recommended by PA Casella and consistent with the prison



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protocol requiring a patient to try and fail two topical treatments before systemic drugs are

considered. See Pl. Resp. at 4–5. Also, it is undisputed that Humira suppresses a patient’s

immune system, thereby making the patient more susceptible to infections. Pl. Facts ¶ 13; Pl.

Resp. at 7–8. Plaintiff acknowledges that Humira is “not prescribed lightly.” [ECF No. 57 at 6].

In a public prison setting, Dr. Groblewski’s decision to delay prescribing a drug with an

increased risk of infection for a short period of time (less than a month) to determine whether a

less-drastic remedy would suffice cannot reasonably be interpreted as evincing a “deliberate

intent to harm” or “wanton disregard” for a prisoner’s health, see Battista v. Clarke, 645 F.3d

449, 453 (1st Cir. 2011)—at least not without additional facts to support such a conclusion.

       Second, even assuming, as Plaintiff urges, that Dovonex was unlikely to relieve

Plaintiff’s symptoms, Plaintiff has not produced any evidence that Dr. Groblewski intended for

Dovonex to supplant, rather than supplement, Plaintiff’s clobetasol treatment. In fact, the record

supports the opposite conclusion—that the two drugs were intended to be used together. See Pl.

Resp. at 46–50. Plaintiff does not contend, nor is there evidence to show, that Dr. Groblewski’s

chosen treatment, a combination of Dovonex and clobetasol, would be weaker or less effective

than a straight clobetasol treatment. Accordingly, the “impending harm,” Watson, 984 F.2d at

540, facing Plaintiff in the wake of Dr. Groblewski’s treatment decision was far from the

foregone conclusion that Plaintiff makes it out to be.

       Once it became evident, after approximately three weeks, that the combination of

clobetasol and Dovonex was not working, Plaintiff was treated at the Lemuel Shattuck Hospital

clinic where, on August 11, 2013, she received a dose of Humira. Pl. Facts ¶¶ 58, 60. She later

received a second Humira shot at the prison on August 27, 2013, shortly prior to her release. Id. ¶

64. Again, these undisputed events, following in sequence from Dr. Groblewski’s initial decision



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to prescribe Dovonex rather than Humira, demonstrate “not the absence of help, but the choice of

a certain course of treatment.” Sires, 834 F.2d at 13. Although a reasonable fact-finder could

fault Dr. Groblewski for the delay in getting Plaintiff treated with Humira, the delay under the

circumstances of this case does not rise to the level of a constitutional violation. See Estelle, 429

U.S. at 106 (“Medical malpractice does not become a constitutional violation merely because the

victim is a prisoner.”); DesRosiers v. Moran, 949 F.2d 15, 20 (1st Cir. 1991) (“[A] claim of

inadequate medical treatment which reflects no more than a disagreement with prison officials

about what constitutes appropriate medical care does not state a cognizable claim under the

Eighth Amendment.”); Miranda v. Munoz, 770 F.2d 255, 259 (1st Cir. 1985) (“[W]here a

prisoner has received some medical attention and the dispute is over the adequacy of the

treatment, federal courts are generally reluctant to second guess medical judgments and to

constitutionalize claims which sound in state tort law[.]” (citations and internal quotation marks

omitted)).

        This reluctance to find a constitutional violation where a prisoner has received adequate,

although arguably not ideal, medical treatment finds ample support in the case law of this circuit.

For instance, in Ruiz-Rosa v. Rullan, 485 F.3d 150, 151, 156 (1st Cir. 2007), after a prisoner

died of septicemia while in custody, the plaintiff presented an expert who opined that the

prisoner “was given ineffective antibiotics, that doses of the antibiotics which were prescribed

were missed, that the staff failed to keep adequate medical records, and that the staff failed to

respond when [the prisoner’s] condition worsened.” Yet, the First Circuit found that record

insufficient to survive summary judgment on the issue of deliberate indifference because there

was no evidence that the treating doctor “was aware that the antibiotic he prescribed was

ineffective and would pose a substantial risk of harm to [the prisoner].” Id. at 156.



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        Similarly, in Feeney, 464 F.3d at 162, the First Circuit affirmed a grant of summary

judgment for defendants when prison medical officials delayed, for about 22 months, providing

the plaintiff with orthopedic footwear that had previously been prescribed to him. The plaintiff’s

claim fell short of an Eighth Amendment violation in part because, during that 22-month span,

he was examined by several medical professionals and received other treatments for his

symptoms. Id. While the record may have “reflected poor judgment on the part of some

defendants,” it did not rise to the level of deliberate indifference in the constitutional sense. Id. at

163. Additionally, in Torraco, 923 F.2d at 233–34, a deliberate indifference claim failed where

the plaintiff’s son committed suicide in prison after prison officials neglected to provide the son

with psychiatric care or take precautionary measures such as placing him in a “suicide cell.” The

case did not survive summary judgment on the § 1983 claim (although it “very well” may have

presented a claim of negligence) because prison officials provided individual counseling to the

inmate and were responsive when he expressed a need for mental health attention. Id. at 235–36.

        This case resembles Ruiz-Rosa, Feeney, and Torraco in the sense that Plaintiff was not

denied treatment outright, but rather was provided one course of treatment over her preferred

course of treatment—and even then, only for less than a month, after which time her medication

was changed and her condition quickly improved. Those facts are insufficient to prove an Eighth

Amendment violation because prison administrators are under no “duty to provide care that is

ideal, or of the prisoner’s choosing.” Kosilek, 774 F.3d at 82. The undisputed facts show a

conservative, but ultimately successful, course of treatment. At bottom, Dr. Groblewski did not

make a “‘wanton’ decision[] to deny or delay care” or act with “actual knowledge of impending

harm, easily preventable.” Watson, 984 F.2d at 540.




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       Because Dr. Groblewski did not refuse to treat Plaintiff outright and because Plaintiff

received follow-up treatment once it became clear that clobetasol and Dovonex together were not

working, this case is readily distinguishable from those cases in which the First Circuit has found

a colorable claim of deliberate indifference. For example, in Perry, 782 F.3d at 80, summary

judgment was inappropriate because a fact-finder could have determined that although the

inmate alerted officials to his broken jaw, they conducted only cursory examinations of him and

withheld treatment, telling him to “sleep it off.” Similarly, in Leavitt, 645 F.3d at 499, the record

would have permitted a fact-finder to conclude that a physician’s assistant acted with deliberate

indifference when he failed to examine the viral load report of an HIV-positive inmate. In

contrast, here it is undisputed that Dr. Groblewski did not became aware of Plaintiff’s condition

until July 15, 2013, at which point he prescribed an additional medication, Dovonex. Her

condition then was monitored, up to and including her admission to the clinic on August 11,

2013, at which point she received a Humira shot, followed by the administration of a second

Humira shot at MCI–Framingham on August 27, 2013. These undisputed facts surrounding Dr.

Groblewski’s chosen course of treatment foreclose a finding of the type of “callous disregard in

the face of a pressing medical emergency” or “treatment so inadequate as to shock the

conscience” or “deficiency [in treatment that] was intentional” that is required to support a

finding of deliberate indifference. Sires, 834 F.2d at 13.

       Even so, Plaintiff asserts that Dr. Groblewski’s decision to deny Humira amounted to

making no decision at all in that it was based on rote adherence to the MPCH formulary without

any examination of Plaintiff or her medical records, and that this is enough to establish deliberate

indifference. [ECF No. 57 at 5, 10]. For support, she primarily relies on Johnson v. Wright, 412

F.3d 398, 406 (2d Cir. 2005), where the court noted that “a jury could find that the defendants



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acted with deliberate indifference by reflexively relying on the medical soundness” of treatment

guidelines “when they had been put on notice that the medically appropriate decision could be,

instead, to depart” from said guidelines. Two important factors distinguish this case from

Johnson and cases like it: the time line and the nature of the recommendation that Plaintiff

receive a particular course of treatment. In Johnson, the prisoner was denied a specific Hepatitis

C treatment for about 18 months “in the face of the unanimous, express, and repeated

recommendations of plaintiff’s treating physicians” that he receive the withheld treatment. Id. at

400–02, 406. Here, less than a month elapsed between Dr. Groblewski’s initial decision to deny

Humira in favor of a second topical medication and Plaintiff’s first dose of Humira while in

custody. See Pl. Facts ¶¶ 41, 60. Further, there is no evidence of “unanimous” or “repeated”

recommendations that Plaintiff receive Humira—only the one recommendation, by PA Casella,

which was submitted at the same time as her recommendation that Plaintiff receive Dovonex.

See id. ¶¶ 35–37. Nor is there any evidence that any other physician told Dr. Groblewski that

they disagreed with his decision. Thus, the MPCH professional who had the most information

about Plaintiff’s condition recommended two types of treatment. Dr. Groblewski, rather than

approving both, chose the one that was less drastic and fit into the MPCH treatment protocol for

Plaintiff’s particular disease, and he avoided giving a drug in a prison setting that indisputably

would have put Plaintiff at a higher risk of infection. See Pl. Facts ¶¶ 85; Pl. Resp. at 4–5, 7–8.

And again, although the Humira recommendation was initially rejected, it was, after less than a

month on Dovonex, ultimately followed. Pl. Facts ¶ 60. See also Pl. Resp. at 74–75

(acknowledging that Dovonex was prescribed “pending Humira approval”).

       Finally, Plaintiff argues that Dr. Groblewski’s stated reasons for denying Humira are not

credible, and instead the evidence supports the inference that he denied Humira for financial



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reasons. [ECF No. 57 at 8, 11–13]. The suggestion that Dr. Groblewski denied Humira for

financial reasons is not reasonably inferable from the evidence in the record. Although a

reasonable fact-finder could accept the basic proposition that Humira is more expensive than

either clobetasol or Dovonex, see Pl. Facts ¶ 17, there is no evidence that this cost differential

had any bearing on Dr. Groblewski’s decision regarding how to treat Plaintiff. Further, it is

undisputed that Plaintiff received two doses of Humira while in DOC custody, including one

shortly before she left DOC custody, Pl. Facts ¶¶ 60, 64, and that MPCH and UMass approved

more than 70 new prescriptions for Humira or similar medications for persons in DOC custody

in 2013 alone, Pl. Resp. at 7–8, 64. These facts belie the assertion that Humira was systemically

denied to save money.

       Even if a rational fact-finder could conclude that the cost differential was a factor in Dr.

Groblewski’s decision to delay the Humira treatment until the combination of Dovonex and

clobetasol proved unsuccessful, that alone would not necessarily give rise to a claim of deliberate

indifference. See, e.g., Morris v. Livingston, 739 F.3d 740, 748 (5th Cir. 2014), cert. denied, 134

S. Ct. 2734 (2014) (noting that deliberate indifference standard “does not guarantee prisoners the

right to be entirely free from the cost considerations that figure in the medical-care decisions

made by most non-prisoners in our society”); Winslow v. Prison Health Servs., 406 F. App’x

671, 674 (3d Cir. 2011) (consideration of cost alone does not state a claim for deliberate

indifference because “prisoners do not have a constitutional right to limitless medical care, free

of the cost constraints under which law-abiding citizens receive treatment”); Johnson v.

Doughty, 433 F.3d 1001, 1013 (7th Cir. 2006) (“The cost of treatment alternatives is a factor in

determining what constitutes adequate, minimum- level medical care[.]”). This is particularly true

where nothing in the record permits an inference that cost considerations overrode Dr.



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Groblewski’s professional medical judgment. See Battista, 645 F.3d at 453 (noting that Supreme

Court’s Eighth Amendment jurisprudence “leave[s] ample room for professional judgment,

constraints presented by the institutional setting, and the need to give latitude to administrators

who have to make difficult trade-offs as to risks and resources”); DesRosiers, 949 F.2d at 19 (“In

evaluating the quality of medical care in an institutional setting, courts must fairly weigh the

practical constraints facing prison officials.”). Nor would the fact that Dr. Groblewski considered

cost when choosing Plaintiff’s treatment regimen, on its own, solve the defect identified above—

that the record is devoid of evidence to support an inference that Dr. Groblewski knew of or

ignored an obvious risk to Plaintiff’s health in choosing the course of treatment. 3 See, e.g., Brady

v. Aldridge, 493 F. App’x 790, 791 (7th Cir. 2012) (rejecting deliberate indifference claim based

on allegation that prison dentist’s choice of treatment was motivated by cost-savings rather than

professional judgment because plaintiff failed to plausibly allege that dentist recklessly or

intentionally harmed him).

       For these reasons, summary judgment is appropriate in Defendants’ favor with respect to

the § 1983 claim against Dr. Groblewski.

       B.      Constitutionally Inadequate Care—MPCH

       Given the above discussion of Dr. Groblewski’s conduct, this record cannot support the

imposition of § 1983 liability against MPCH. The Court will assume for purposes of argument

that MPCH, a private contractor, could be held liable under § 1983 on a theory resembling

municipal liability—a question not expressly resolved in the First Circuit, see Leavitt, 645 F.3d

at 504 n.30. Even so, “[w]here, as here, there is no constitutional violation by the employees of



3 With respect to Dr. Groblewski’s other potential motivations, Plaintiff’s argument asks the
Court to make credibility determinations, which is not permitted at summary judgment. See
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).
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the municipality, there can be no liability predicated on municipal policy or custom.” Id. at 504.

For the reasons already discussed, Dr. Groblewski did not violate Plaintiff’s constitutional rights,

and Plaintiff does not attempt to show a constitutional violation by any other employee of

MPCH. Plaintiff offers no argument for imposing liability on MPCH absent a finding of

wrongdoing by Dr. Groblewski. [See ECF No. 57 at 18–19]. Accordingly, Plaintiff’s § 1983

claim against MPCH cannot survive Defendants’ motion for summary judgment.

        C.     Remaining negligence claim

        Having granted summary judgment in Defendants’ favor with respect to the § 1983

claim, only Plaintiff’s common law negligence claim remains. The parties have not yet expressed

a position as to whether the Court should exercise supplemental jurisdiction over this claim

pursuant to 28 U.S.C. § 1367.

        A district court “may decline to exercise supplemental jurisdiction” once it “has

dismissed all claims over which it has original jurisdiction.” Eves v. LePage, 842 F.3d 133, 146

(1st Cir. 2016) (quoting 28 U.S.C. § 1367(c)(3)). Among the factors relevant to this decision are

(1) whether assuming jurisdiction might promote “judicial economy” and “convenience,” and (2)

whether declining jurisdiction might promote “comity” or afford the parties a “surer-footed

reading of applicable law” from state courts. Id. (quoting United Mine Workers of Am. v. Gibbs,

383 U.S. 715, 726 (1966)). The First Circuit has stated “that in the usual case in which all

federal-law claims are eliminated before trial, the balance of factors [from Gibbs] will point

toward declining to exercise jurisdiction over the remaining state-law claims.” Id. (quoting

Rivera–Díaz v. Humana Ins. of P.R., Inc., 748 F.3d 387, 392 (1st Cir. 2014) (alteration in

original)).




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         Here, unlike in “the usual case,” the balance of Gibbs factors tips in favor of the Court

exercising supplemental jurisdiction over Plaintiff’s remaining negligence claim. There can be

little doubt that this state law claim qualifies for supplemental jurisdiction under § 1367(a), as it

derives from the same “common nucleus of operative fact,” Gibbs, 383 U.S. at 725, as the

§ 1983 claim. Further, since this case originated in March 2015, the parties have completed fact

and expert discovery to develop a robust factual record in this Court. Finally, the remaining

negligence claim, based on the briefing so far, does not appear to present a novel or complex

issue of law that would favor resolution by a state court. See Cavallaro v. UMass Memorial

Healthcare, Inc., 678 F.3d 1, 9 (1st Cir. 2012) (approving of district court exercising

supplemental jurisdiction when “[t]he claim arises from the same nucleus of facts as the rest of

plaintiffs’ claims, the question is purely legal and, although perhaps novel, it is by no means

complex”). Accordingly, the aims of judicial economy and convenience to the parties are

furthered, and comity is not disserved, by the Court retaining jurisdiction over the negligence

claim.

IV.      CONCLUSION

         Although the treatment given to Plaintiff may not have been optimal, the record before

the Court would not permit a rational fact-finder to determine that Defendants provided Plaintiff

with constitutionally inadequate care. Therefore, the Court must ALLOW Defendants’ motion

for partial summary judgment [ECF No. 41]. The Court will exercise supplemental jurisdiction

over the remaining negligence count of the Amended Complaint.


SO ORDERED.

Dated: September 29, 2017                                      /s/ Allison D. Burroughs
                                                               ALLISON D. BURROUGHS
                                                               U.S. DISTRICT JUDGE

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